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      EXHIBIT 6
  (Filed Under Seal)
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                                                                      Page 1


      UNITED STATES DISTRICT COURT
      SOUTHERN DISTRICT OF NEW YORK
      - - - - - - - - - - - - - - - - - - - - x
      VIRGINIA L. GIUFFRE,

                     Plaintiff,
                                                 Case No.:
            -against-                            15-cv-07433-RWS

      GHISLAINE MAXWELL,

                     Defendant.

      - - - - - - - - - - - - - - - - - - - - x

                               **CONFIDENTIAL**

                    Videotaped deposition of RINALDO
              RIZZO, taken pursuant to subpoena, was
              held at the law offices of Boies
              Schiller & Flexner, 333 Main Street,
              Armonk, New York, commencing June 10,
              2016, 10:06 a.m., on the above date,
              before Leslie Fagin, a Court Reporter
              and Notary Public in the State of New
              York.
                              - - -
                    MAGNA LEGAL SERVICES
               1200 Avenue of the Americas
                New York, New York 10026
                       (866) 624-6221
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                                                                      Page 52
 1                 R. Rizzo - Confidential
 2            Q.      Did you learn whether your
 3    perception was correct?
 4                    MR. PAGLIUCA:       Same objection.
 5            A.      It was younger.        Yes, I did.
 6            Q.      How old was this girl?
 7            A.      15 years old.
 8            Q.      What happens next when Ghislaine
 9    Maxwell and Jeffrey Epstein and a 15-year-old
10    girl walk into Eva Anderson's home?
11                    MR. PAGLIUCA:       Object to the form.
12            Foundation.
13            A.      They proceed into the dining room
14    area, which is across from the living room
15    area.        I go into the kitchen and I hear a
16    conversation start.           Very muffled, I could
17    not hear any particulars about the
18    conversation whatsoever.
19                    My wife and I are in the kitchen
20    preparing the evening meal.               Eva brings the
21    young girl into the kitchen.               In the kitchen,
22    there is an island with three barstools.                    Eva
23    instructs the young girl to sit to the
24    furthest barstool on the right.
25            Q.      Describe for me what the girl
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                                                                      Page 53
 1                 R. Rizzo - Confidential
 2    looked like, including her demeanor and
 3    anything else you remember about her when she
 4    walks into the kitchen.
 5            A.      Very attractive, beautiful young
 6    girl.        Makeup, very put together, casual
 7    dress.        But she seemed to be upset, maybe
 8    distraught, and she was shaking, and as she
 9    sat down, she sat down and sat in the stool
10    exactly the way the girls that I mentioned to
11    you sat at Jeffrey's house, with no
12    expression and with their head down.                   But we
13    could tell that she was very nervous.
14            Q.      What do you mean by distraught and
15    shaking, what do you mean by that?
16            A.      Shaking, I mean literally
17    quivering.
18            Q.      What happens next?
19            A.      We were, again, the absurdity,
20    never introduced.           Like you would walk into a
21    room and say this is -- so my wife and I are
22    in the kitchen and this young girl is sitting
23    there.        It was a very uncomfortable moment.
24    I look at my wife.           And so I want to ease the
25    moment, and so I introduced myself and I
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                                                                      Page 54
 1                 R. Rizzo - Confidential
 2    introduced my wife, and she doesn't really
 3    respond.
 4                    And I asked her, are you okay?                And
 5    she doesn't really respond.               Nothing verbal,
 6    no cues, her head is still down.                 I ask her
 7    if she would like some water, tissue,
 8    anything, and she basically doesn't respond.
 9            Q.      You ask her for a tissue?
10            A.      If she would like a tissue or some
11    water at the time.
12            Q.      Was she crying at the time?
13            A.      My perception, she was on the verge
14    of crying.        And I'm trying to loosen the
15    situation every way I know how, so the only
16    way I knew how, and I thought maybe this will
17    comfort her, I said oh, by the way, do you
18    work for Jeffrey.
19                    And she says that, I guess kind of
20    made her feel comfortable, because maybe it
21    was that comment or my persistence, and she
22    said yes.        So I said, what do you do?             And
23    she says I'm Jeffrey's executive assistant,
24    personal assistant.           Which, from looking at
25    her, just didn't seem to suit.
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                                                                      Page 55
 1                 R. Rizzo - Confidential
 2                    And I blurted out:         You're his
 3    executive personal assistant?                What do you
 4    do?     And she says I was hired as his
 5    executive personal assistant.                I schedule his
 6    appointments.
 7                    And I'm shocked, and I blurt out:
 8    You seem quite young, how did you get a job?
 9    How old are you?          And she says to me, point
10    blank:        I'm 15 years old.
11                    And I said to her:         You're 15 years
12    old and you have a position like that?                    At
13    that point she just breaks down hysterically,
14    so I feel like I just said something wrong,
15    and she will not stop crying.                My wife and I
16    were at a loss for words, and I keep on
17    trying to console her, and nothing I was
18    saying, are you all right, do you need a
19    tissue, do you need water, consoles her.
20                    And then in a state of shock, she
21    just lets it rip, and what she told me was
22    just unbelievable.
23            Q.      What did she say?
24                    MR. PAGLIUCA:       Object to the form
25            and foundation.
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                                                                      Page 56
 1                 R. Rizzo - Confidential
 2            A.      She proceeds to tell my wife and I
 3    that, and this is not -- this is blurting
 4    out, not a conversation like I'm having a
 5    casual conversation.            That quickly, I was on
 6    an island, I was on the island and there was
 7    Ghislaine, there was Sarah, she said they
 8    asked me for sex, I said no.
 9                    And she is just rambling, and I'm
10    like what, and she said -- I asked her, I
11    said what?        And she says yes, I was on the
12    island, I don't know how I got from the
13    island to here.          Last afternoon or in the
14    afternoon I was on the island and now I'm
15    here.        And I said do you have a -- this is
16    not making any sense to me, and I said this
17    is nuts, do you have a passport, do you have
18    a phone?
19                    And she says no, and she says
20    Ghislaine took my passport.               And I said what,
21    and she says Sarah took her passport and her
22    phone and gave it to Ghislaine Maxwell, and
23    at that point she said that she was
24    threatened.        And I said threatened, she says
25    yes, I was threatened by Ghislaine not to
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                                                                      Page 57
 1                 R. Rizzo - Confidential
 2    discuss this.
 3                    And I'm just shocked.           So the
 4    conversation, and she is just rambling on and
 5    on, again, like I said, how she got here, she
 6    doesn't know how she got here.                Again, I
 7    asked her, did you contact your parents and
 8    she says no.
 9                    At that point, she says I'm not
10    supposed to talk about this.               I said, but I
11    said:        How did you get here.         I don't
12    understand.        We were totally lost for words.
13                    And she said that before she got
14    there, she was threatened again by Jeffrey
15    and Ghislaine not to talk about what I had
16    mentioned earlier, about -- again, the word
17    she used was sex.
18            Q.      And during this time that you're
19    saying she is rambling, is her demeanor
20    continues to be what you described it?
21            A.      Yes.
22            Q.      Was she in fear?
23            A.      Yes.
24                    MR. PAGLIUCA:       Object to the form
25            and foundation.
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                                                                      Page 58
 1                 R. Rizzo - Confidential
 2            Q.      You could tell?
 3            A.      Yes.
 4                    MR. PAGLIUCA:       Same objection.
 5            A.      She was shaking uncontrollably.
 6            Q.      What happens with this 15-year-old
 7    girl next?
 8                    MR. PAGLIUCA:       Object to the form
 9            and foundation.
10            A.      As she is trying to explain, and
11    I'm asking questions because I'm as feared as
12    she is at this point.            We hear people
13    approach and she just shuts up.
14            Q.      What happens next?
15            A.      Eva comes in and tells her that she
16    will be working for Eva in the city.
17            Q.      As what?
18            A.      As a nanny.
19            Q.      Did you see this girl again?
20            A.      Yes.
21            Q.      And when?
22            A.      On a flight maybe a month or so to
23    Sweden.
24            Q.      What was the purpose of the flight?
25            A.      We were going to Sweden for the
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                                                                   Page 59
  1                R. Rizzo - Confidential
  2    summer.
  3           Q.      Who was on the flight?
  4           A.      The Dubin family.
  5           Q.      As well as this girl?
  6           A.      Yes.
  7           Q.      What happens?
  8           A.      One thing that I forgot to mention
  9    is during our initial conversation, I asked
 10    her what her name was                she said her name
 11    was              .
 12           Q.      What happened with                    ?
 13           A.      We flew to Sweden, we stopped at an
 14    airport that we didn't usually stop at and
 15    she got off the plane.
 16           Q.      Just so that I make sure I
 17    understand, who it was that she says asked
 18    her for sex on the island, who was that?
 19                   MR. PAGLIUCA:        Object to the form.
 20           Foundation.
 21           A.      She didn't specify who asked for
 22    sex.    She said that they asked for sex.
 23    Immediately after that she put Ghislaine and
 24    Sarah into the conversation.
 25           Q.      Taking her passport?
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                                                                   Page 60
  1                R. Rizzo - Confidential
  2           A.      Yes.
  3           Q.      From -- are there any other
  4    incidents or occurrences that you observed
  5    personally with Jeffrey Epstein and Ghislaine
  6    Maxwell?
  7                   MR. PAGLIUCA:        Object to the form
  8           and foundation.
  9           A.      Not that I can recall.
 10           Q.      This last event that you described,
 11    what's the timeframe when that occurred?
 12           A.      Late 2004, 2005.
 13           Q.      When did you resign your employment
 14    from the Dubin family?
 15           A.      I think roughly October.
 16           Q.      Of what year?
 17           A.      2005.
 18           Q.      Why?
 19           A.      My wife and I had discussed these
 20    incidents, and this last one was just, we
 21    couldn't deal with it.
 22           Q.      When you left your employment with
 23    the Dubin family, did you have a job?
 24           A.      When we finally left, I stayed on
 25    three months after my resignation, I had a
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                                                                  Page 141
  1
  2                            CERTIFICATE
  3
  4
  5                  I HEREBY CERTIFY that RINALDO
  6    RIZZO, was duly sworn by me and that the
  7    deposition is a true record of the testimony
  8    given by the witness.
  9
 10                  _______________________________
 11                  Leslie Fagin,
                     Registered Professional Reporter
 12                  Dated:      June 10, 2016
 13
 14
 15                  (The foregoing certification of
 16    this transcript does not apply to any
 17    reproduction of the same by any means, unless
 18    under the direct control and/or supervision
 19    of the certifying reporter.)
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